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                                                                                               ORIGINAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                              -   -   -    -    -    X


UNITED STATES OF AMERICA                                                      SEALED INDICTMENT

              - v. -                                                          Sl 22 Cr .

OLEG VLADIMIROVICH DERIPASKA ,
 a/k/a " Oleg Mukhamedshin , "                                      ~
OLGA SHRIKI ,                       C' , _'. -- ,.
NATALIA MIKHAYLOVNA BARDAKOVA ,    '-J         -~
 a/k/a "Natalya Mikhaylovna Bardakova , "
and
EKATERINA OLEGOVNA VORONINA ,
                                             ~
                                                                                   CRIM 518
 a/k/a " Ekaterina Lobanova , "

                       Defendants.

                                                      -    -    -   X


              The Grand Jury charges :

                                             Overview

              1.   On    or     about        April        6,        2018,      the      United   States

government imposed sanctions on Russian citizen OLEG VLADIMIROVICH

DERIPASKA , a/k/a " Oleg Mukhamedshin ," the defendant, and a company

he controlled called " Basic Element."                              Among other things , those

sanctions     prohibited            making    any         contribution             or    provision     of

funds , goods , or services by , to , or for the benefit of any person

whose property and interests in property are blocked , and receiving

any contribution or provision of funds ,                                 goods ,   or services from

any such person .             Yet    for     over     four          years     afterwards ,       and   in
                                I

violation of those sanctions , DERIPASKA continued to retain OLGA

SHRIKI      and    NATALIA          MIKHAYLOVNA                BARDAKOVA ,           a/k / a   "Natalya
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Mikhaylovna Bardakova ," the                 defendants ,           to provide hundreds          of

thousands of dollars worth of services                            for his benefit         in the

United States .       For example, in or about 2019 , SHRIKI facilitated

for DERIPASKA's benefit the sale of a music studio in California

for approximately $3 , 078 , 787 .            Then, in or about 2020 , SHRIKI and

BARDAKOVA helped EKATERINA OLEGOVNA VORONINA ,                                a/k/a   "Ekaterina

Lobanova ," the defendant , travel from Russia to the United States,

so she could give birth to DERIPASKA's and VORONINA 's child in the

United    States .         SHRIKI       orchestrated         hundreds         of   thousands     of

dollars worth of U. S . medical care, housing, childcare , and other

logistics      to    aid    DERIPASKA ' s        and       VORONINA's         efforts   to    have

VORONINA give birth in the United States, which resulted in the

child receiving U. S .           citizenship.              Later,    in or about 2022 ,          at

DERIPASKA ' s further behest and for his further benefit , SHRIKI and

BARDAKOVA attempted to facilitate VORONINA ' s return to the United

States to give birth to DERIPASKA ' s and VORONINA ' s second child .

Additionally ,       between       in   or   about         2018   and   in     or about      2020 ,

DERIPASKA      routinely         had    SHRIKI       and    BARDAKOVA purchase          various

products in the United States for DERIPASKA's personal use and as

gifts    for   others       on    his    behalf .           During      the    course    of    law

enforcement efforts to investigat e the scheme ,                              SHRIKI destroyed

evidence , while BARDAKOVA and VORONINA made false statements to

U. S. government officers .




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                       The Defendants and Relevan t Entities

              2.       OLEG        VLADIMIROVICH            DERIPASKA ,         a/k / a        " Oleg

Mukhamedshin ," the defendant, is a Russian national .                               At all times

relevant      to       this    Indictment ,          DERIPASKA         was     the    owner      and

controller ,       directly         or   indirectly ,        of    Basic     Element         Limited

("Basic Element " ) , a private investment and management company for

DERIPASKA ' s various business interests .                        As set forth in greater

detail     below ,      on    or    about    April     6,     2018 ,     the    United       States

Department     of       the   Treasury ' s       Office     of    Foreign Assets           Control

(" OFAC " ) designated DERIPASKA as a Specially Designated National

(" SON " ) , i n connection with its finding that the actions of the

Government        of    the   Russ i an     Federation        with      respect       to   Ukraine

constitute an unusual and extraordinary threat to the national

secur i ty   and       foreign      policy    of     the    United       States       (the    "OFAC

Sanctions " ) .        I n so de si gnating DERIPASKA ,                OFAC explained that

DERIPASKA was sanctioned for having acted or purported to act for

or on beha l f of , direct l y or indirectly , a senior official of the

Government of the Russ i an Federation , as well as for operating in

the energy sector of the Russian Federation economy .                                On or about

the same date , OFAC a l so designated Basic Element .                            At all times

relevant     to        this    In d i ctment ,       several       properties         original l y

purchased by DERIPASKA i n the United States , including properties

located at 2501 30th Street NW , Washington D.C .; 12 Gay Street ,

New York , New York ; and 11 East 64th Street , New York , New York


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(collectively,             the     "U.S.    Properties ") ,      were     maintained           on    his

behalf.

                   3.     OLGA SHRIKI, the defendant, is a naturalized United

States citizen living in the United States.                            At all times relevant

to     this    Indictment,          SHRIKI        provided    services       to,    and       for    the

benefit            of,     OLEG         VLADIMIROVICH         DERIPASKA,           a/k/a         "Oleg

Mukhamedshin," the defendant, including, for a period of time, as

an employee of DERIPASKA,                       or entities controlled by DERIPASKA.

Between in or about April                        2018   and in or about            2021,       despite

knowledge          of    the     OFAC    Sanctions       imposed   on     DERIPASKA,            SHRIKI

continued to provide services to, and for the benefit of, DERIPASKA

and     received          funds      from        entities     controlled       by        DERIPASKA,

including          in    connection with            facilitating       the    sale       of    one   of

DERIPASKA' s            holdings    in     the    United     States,    gift       deliveries        on

behalf        of    DERIPASKA       in     the     United    States,     and       the     birth     of

DERIPASKA's first child in the United States.

                   4.     NATALIA        MIKHAYLOVNA         BARDAKOVA,       a/k/a           "Natalya

Mikhaylovna Bardakova," the defendant, is a Russian national.                                        At

all times relevant to this Indictment, BARDAKOVA worked for OLEG

VLADMIROVICH DERIPASKA, a/k/a "Oleg Mukhamedshin," the defendant,

or     entities          controlled        by    DERIPASKA,     and     otherwise             provided

services to,             and for the benefit of,              DERIPASKA.           Between in or

about April 2018 and in or about 2022,                          despite knowledge of the

OFAC     Sanctions          imposed        on    DERIPASKA,     BARDAKOVA          continued         to


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provide services to and for the benefit of DERIPASKA , including in

connection with gift                 deliveries            on behalf of           DERIPASKA in the

United States, the birth of DERIPASKA's first child in the United

States, and the planned birth of DERIPASKA's second child in the

United States .

                 5.        EKATERINA        OLEGOVNA            VORONINA,         a/k/a     "Ekaterina

Lobanova," the defendant, is a Russian national.                                  Since in or about

2015 ,    VORONINA has             been   in    an        intimate        relationship with          OLEG

VLADIMIROVICH DERIPASKA, a/k/a "Oleg Mukhamedshin," the defendant.

Between      in or         about     July 2020            and   in or       about   December       2020,

VORONINA flew on a private jet funded by DERIPASKA to the United

States      so    that       she    could      give       birth      in     the   United    States    to

DERIPASKA's child,               who thereby became a U.S . citizen.                            In doing

so,      VORONINA          and     DERIPASKA     engaged             OLGA    SHRIKI       and    NATALIA

MIKHAYLOVNA BARDAKOVA , a/k/a "Natalya Mikhaylovna Bardakova," the

defendants ,          to    undertake       hundreds            of   thousands      of     dollars    in

transactions in furtherance of the scheme and in violation of U.S.

sanctions.        Later , in or about 2022, VORONINA and DERIPASKA agreed

to and did attempt                 to re-engage            SHRIKI      in connection with the

planned U. S. birth of their second child, but ultimately engaged

BARDAKOVA instead.                 In or about June 2022,                   VORONINA flew to the

United States on another private jet funded by DERIPASKA.                                          Upon

arrival, VORONINA made multiple false statements to, and tried to

mislead ,    officers of the Department of Homeland Security,                                     in an


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attempt to prevent the officers from learning DERIPASKA's name and

to     conceal     the    roles   of        DERIPASKA,         SHRIKI,    and     BARDAKOVA     in

hundreds     of     thousands         of    dollars       of    illegal    transactions         in

violation of U.S.           sanctions.           VORONINA was refused entry to the

United States .

              6.     The      U. S.        Properties          were   purchased       by     OLEG

VLADMIROVICH DERIPASKA , a/k/a "Oleg Mukhamedshin , " the defendant,

between in or about 2005 and in or about 2008.                           Collectively worth

tens     of millions        of dollars ,         the U.S.        properties were        at    all

relevant times managed by a company named Gracetown , Inc.                                  Since

OFAC imposed sanctions on DERIPASKA on or about April 6,                                    2018 ,

individuals and/or entities controlled by DERIPASKA transmitted

millions of dollars to bank accounts held by Gracetown Inc .                                   in

Manhattan for the upkeep of the U. S. Properties and for the benefit

of DERIPASKA .           Gracetown Inc . used the funds to pay for various

expenses     associated with               the   U. S .   Properties ,     including       staff

salaries , property taxes , and other services , and to maintain the

U. S . Properties .

The International Emergency Economic Powers Act and the Relevant
                Sanctions Orders and Regulations

             7.      The    International             Emergency       Ec:onomic    Powers     Act

("IEEPA") , codified at Title 50 , United States Code , Sections 1701-

1708 ,   confers upon the President authority to deal with unusual

and extraordinary threats to the national security and foreign



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policy of the United States.                        Section 1705 provides , in part, that

" [i] t     shall      be     unlawful        for    a     person       to   violate ,    attempt    to

violate , conspire to violate , or cause a violation of any license,

order , regulation , or prohibition issued under this chapter. "                                     50

U. S.C .    §   1705(a).

                 8.      In    2014 ,    pursuant           to    his    authorities       under    the

IEEPA , the President issued Executive Order 13660 , which declared

a national emergency with respect to the situation in Ukraine .                                      To

address         this     national        emergency ,             the    President        blocked    all

property and interest in property that were then or thereafter

came within the United States or that were then or thereafter came

within the possession or control of any United States person , of

individuals determined by the Secretary of the Treasury to meet

one or more enumerated criteria .                          These criteria include , but are

not l imit ed to,           i ndiv iduals determined to be responsible for or

complicit in , or who engage in , actions or po li cies that threaten

the       peace,       security,        stability ,          sovereignty ,         or    territorial

integrity of Ukraine ; or who materially assist , sponsor , or provide

financial ,        material ,      or technological                 support for,         or goods or

services to , individuals or entities engaging in such activities.

Executive Order 13660 prohibits , among other things , the making of

any contribution or provision of funds , goods , or services by , to ,

or for the benefit of any person whose property and interests in

property        are    blocked ,        and    the        receipt      of    any   contribution     or


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provision of funds , goods , or services from any such person.

                    9.      The national emergency declared in Executive Order

13660 with respect to the situation in Ukraine has remained in

continuous effect since 2014, and was most recently continued on

March 2 , 2021 .

                 10 .       The President on multiple occasions expanded the

scope of the national emergency declared in Executive Order 13660 ,

including through :                (1) Executive Order 13661 , issued on March 16 ,

2014 ,     which addresses             the   actions      and policies of the           Russian

Federation with respect to Ukraine ,                         including the deployment of

Russian Federation military forces in the Crimea region of Ukraine;

and      (2)    Executive Order 13662 ,              issued on March 20,           2014,   which

addresses the actions and policies of the Government of the Russian

Federat i on , including its purported annexation of Crimea and its

use of fo r ce in Ukraine .               Executive Orders 13660 , 13661 , and 13662

are    collectively referred to                 as     the    " Ukraine - Related Executive

Orders ."        Additionally , Executive Order 14065 , issued on February

21 ,   2022 ,       expanded the scope of the national emergency ,                      finding

that the Russian Federation ' s                 purported recognition of the so -

called         Donetsk       People ' s   Republic      or    Luhansk    People ' s    Republic

reg i ons      of        Ukraine    contradicts       Russia ' s   commitments        under   the

Minsk      Ag r eements        and    further     threatens        the   peace ,    stability ,

sovereignty , and territorial integrity of Ukraine .

                 11 .      The Ukraine-Related Executive Orders authorized the


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Secretary of                 the    Treasury to          take     such     actions ,      including      the

promulgation of rules and regulations ,                                 and to employ all powers

granted to the President under the IEEPA ,                                 as may be necessary to

carry        out       the       purposes       of    those     orders .        The    Ukraine-Related

Executive Orders further authorized the Secretary of the Treasury

to redelegate any of the s e functions to other offices and agencies

of the Uni t ed States Government .

                   12 .       To implement the Ukraine - Related Executive Orders ,

OFAC issued certain Ukraine-Related Sanctions Regulations .                                          These

regulations incorporate by reference the definition of prohibited

tra n sact i ons set forth in the Ukraine - Re l ated Executive Orders .

See   31 C . F . R.          §     589.201.      The regulations also provide that ,the

names        of     persons          designated          directly        by     the    Ukraine - Related

Executive          Orders ,          or   by     OFAC     pursuant        to    the    Ukraine - Related

Executive           Orders ,         whose      property         and     interests      are    therefore

b l ocked ,       a r e publ i shed in the Federal Register and incorporated

into the SDN and Blocked Persons List                                  (the " SDN List " ) , which is

published on OFAC ' s publ i c website .                          See 31 C . F . R . § 589.201 n.1 .

                   13 .      According           to       the         Ukraine - Related       Sanctions

Regula t ions ,           a person whose property and interest in property is

b l ocke d     pu r suant           to    the        Ukraine - Related         Executive      Orders      is

treated as having an interest in all property and interests in

propert y         of      any      entity      in which         the    person    owns ,    directly       or

indirect l y ,          a    50     percent      or     greater        interest .       See   31   C. F . R .


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§ 589.406 .      Accordingly,          such an entity is deemed a person whose

property and          interests       in    property       are   blocked,    regardless    of

whether the name of the entity is incorporated into OFAC ' s                              SON

List .     See 31 C.F.R. § 589.406.

              lL      On or about April              6,    2018,     OFAC designated OLEG

VLADIMIROVICH DERIPASKA, a/k/a "Oleg Mukhamedshin," the defendant,

as an SON pursuant to the Ukraine - Related Exe cu ti ve Orders.                           In

particular , OFAC designated DERIPASKA pursuant to Executive Order

13661 for having acted or purported to act for or on behalf of ,

directly or indirectly, . a senior official of the Government of the

Russian Federation, as well as pursuant Executive Order 13662 for

operating in the energy sector of the Russian Federation economy .

On or about the same date , OFAC also designated Basic Element for

being owned or controlled by , directly or indirectly ,                         DERIPASKA .

As   OFAC    explained,        Basic       Element    is     a   private    investment    and

management company for DERIPASKA ' s var ious business interests .

     SHRIKI and BARDAKOVA's Work for DERIPASKA Post-Sanctions

              15 .    Between in or about 2013 and in or about 2018 , OLGA

SHRIKI , the defendant ,             lived in the United States and worked for

Basic     Element         in   its     Manhattan          office .      Following    OFAC ' s

des i gnation        of    OLEG       VLADIMIROVICH           DERIPASKA ,    a/k/a    "Oleg

Mukhamedshin," the defendant , and Basic Element on or about April

6 , 2018 , SHRIKI helped to wind down the Manhattan off ice of Basic

Element, and continued to work for the benefit of DERIPASKA .                             On


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or about July 13 , 2018 , SHRIKI emailed herself a document entitled

" Olga    Shriki      Functional       Responsibilities             May    2018. docx,"           which

listed SHRIKI as a "Trusted contact for any assignments by OVD".

"OVD"     are DERIPASKA ' s       initials .              The document also states that

SHRIKI ' s     job     responsibilities               included      "[s]earching            for     and

locating necessary items as requested by OVD or his team members" .

              16 .     In or about July 2018 , after OFAC designated OLEG

VLADIMIROVICH DERIPASKA , a/k/a " Oleg Mukhamedshin," the defendant ,

as   an    SDN ,     OLGA   SHRIKI ,      the    defendant ,         created       a      consulting

business          named     Global        Consulting              Services       LLC        ( "Global

Consulting " ) .       Through Global Consulting , SHRIKI coordinated with

NATALIA       MIKHAYLOVNA         BARDAKOVA ,             a/k/a      "Natalya          Mikhaylovna

Bardakova ," the defendant , to continue providing services to and

for the bene f it of DERIPASKA and to continue receiving funds from

DERIPASKA or entit i es controlled by DERIPASKA .

              17 .     During     the     relevant          period ,      OLGA      SHRIKI ,       the

defendant ,        had knowledge of the OFAC sanctions imposed on OLEG

VLADIMIROVICH DERIPASKA , a/k/a " Oleg Mukhamedshin , " the defendant .

For example :

                       a.            On     or        about       April    6,     2018 ,     SHRIKI

received      a      text   message       with        a    link    to     the    U. S .    Treasury

Department ' s        announcement        of     the       imposition       of    sanctions         on

DERIPASKA .          SHRIKI     replied ,       in    part    and       substance ,        that    the

sanctions were like l y to impact her work .


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                        b.              On or about January 18 , 2020 , SHRIKI had

a conversation with an individual . SHRIKI made an audio recording

of the conversation , during which she explained to the individual ,

in part , that , "My clients are from [Moscow] but right now, because

of the sanctions I can ' t work with some of them.                             And that was a

very influential relationship                        So as a United States citizen

I can ' t work with somebody , it ' s against the law . .                        . It ' s United

States law .         You can ' t work for people who are under United States

sanctions .      So I don ' t.                     So if someone ' s on the blocked

list , you can ' t. "          Despite this knowledge , and subsequent to this

conversation ,        SHRIKI received over a hundred thousand dollars to

provide services to and for the benefit of DERIPASKA.

              18 .      During      the   relevant     period ,    NATALIA MIKHAYLOVNA

BARDAKOVA , a/k/a " Natalya Mikhaylovna Bardakova , " the defendant,

had knowledge of the sanctions imposed on DERIPASKA .                             For example :

                       a.      On    or   about    December       10 ,    2018 ,     BARDAKOVA

acces se d   a   news         article     discussing     efforts         to     " save   Russian

oligarch Ol eg Deripaska ' s empire from the clutches of the US Office

of Foreign Assets Control ."

                       b.      On    or   about    September       1,     2020 ,     BARDAKOVA

accessed a document called " List of Sanctioned Companies " 1 that

included     " EN+" ,        with   the   notation     " Linked     to        Deripaska ,   Oleg


1 Documents and communications in Russian cited in this Indictment
have been translated into English as draft translations.


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Vladimirovich ",        and " Agroholding Kuban ",                  with the notation "part

of group ' Basic Element '              of 0. Deripaska."

                                The Sanctions Violations

                19 .   From at least in or about 2019 through in or about

2022 , OLEG VLADIMIROVICH DERIPASKA , a/k/a "Oleg Mukhamedshin," the

defendant , employed OLGA SHRIKI and NATALIA MIKHAYLOVNA BARDAKOVA ,

a/k/a " Natalya Mikhaylovna Bardakova ," the defendants , to provide

funds , goods , and services to and for the benefit of DERIPASKA and

companies owned and controlled by DERIPASKA , and to receive funds ,

goods , and services from DERIPASKA.                       DERIPASKA continued to receive

funds , goods , and services from SHRIKI , assisted by BARDAKOVA , and

to prov i de funds ,         goods ,    and services to SHRIKI and other United

States persons by and through BARDAKOVA , after being designated as

an SON in or about April 2018 and in violation of the Ukraine -

Related         Executive         Orders            and         Ukraine - Related        Sanctions

Regulations , unt i l         at least June 2022 .                In particular ,    DERIPASKA ,

the defendant , used SHRIKI ' s and BARDAKOVA ' s assistance to engage

in   severa l     endeavors       in    the    United States           in violation        of   the

Ukraine - Related           Executive        Orders       and    Ukraine - Related    Sanctions

Regulations , including :

                       a.               In     or        about     December     2019 ,     SHRIKI

facilitated the sale of a music studio in Burbank , California (the

"Music    Studio " )        for . the    benefit          of     DERIPASKA ,   who   owned      and

controlled the Music Studio through a series of corporate entities .



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SHRIKI       then   attempted to         expatriate              the        proceeds      of the     sale,

approximately $3 , 078 , 787 ,           from an account at Wells                          Fargo Bank,

held in the name of Ocean Studios LLC , to a bank account in Russia

belonging to a DERIPASKA-controlled entity.

                       b.               Between in or about May 2018 and in or

about 2020 , BARDAKOVA instructed SHRIKI to purchase and send flower

and gift deliveries on behalf of DERIPASKA to DERIPASKA's social

contacts in the United States and Canada.                               The deliveries included,

among others, two Easter gift deliveries to a U.S. television host,

two flower deliveries to a then-former Canadian Parliament member ,

and two flower deliveries in 2020 to EKATERINA OLEGOVNA VORONINA,

a/k/a "Ekat erina Lobanova," the defendant ,                                 while she was in the

United States to give birth to DERIPASKA ' s child.                                    The flower and

gift deliveries were often accompanied by notes that identified

DERIPASKA as the gifter ,               such as "Wishing you and your family a

beautiful        Easter     Holiday .        Oleg         D."      or       "Best   Wishes      On   Your

Birthday . Oleg D."

                       c.               In or about              2 02 0 ,    BARDAKOVA instructed

SHRIKI       to purchase      i terns    in    the        United States             for    DERIPASKA' s

personal use , such as iPh ones and clothing .                                In or about December

2 02 0 ,   after    VORONINA     transported               the      purchased        i terns    back   to

Russia ,      BARDAKOVA wrote           to    SHRIKI        inquiring           about     the   iPhones

SHRIKI had purchased for DERIPASKA,                             "I couldn't find the boss's

phones .        Does    [VORONINA]           have        them? "        SHRIKI      confirmed        that


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VORONINA       had       packed   them       with         her        personal         belongings .

Additionally , on or about December 9, 2020 , DERIPASKA and BARDAKOVA

transmitted between themselves                an    image of a man photographing

himself below the neck in a blue long - sleeved shirt.                            Approximately

24 minutes later , BARDAKOVA sent the same image to SHRIKI with the

message ,     " Olga ,    American    Eagle       wants    a     lot      of    units . "      In   a

separate message on another occasion ,                    BARDAKOVA sent SHRIKI ,                who

was then living in the United States , an image of an American Eagle

branded t - shirt , writing " OV wants these t-shirts , 10 counts , size

XL .   Could you find them and urgently send them? "

                     d.              In or about 2020 ,              as the pandemic began

and people were worried about the state of hospital care in some

areas ,    DERIPASKA and VORONINA agreed that their child should be

born in the United States.                DERIPASKA , by and through BARDAKOVA ,

SHRIKI , and other assoc i ates , organized and funded this endeavor ,

wh i ch entailed over $300 , 000 in transactions in the United States.

In or about March 2020 , DERIPASKA counseled VORONINA on obtaining

a U. S . visa , including by telling her to be " careful " ahead of an

interview by U. S .        immigration authorities .                   VORONINA thereafter

applied      for   and    obtained    a   U.S .    visa        for    a   purported         ten - day

tourism visit without disclosing her intent to travel and stay in

the United States for approximately six months to give birth to

DERIPASKA ' s child .

                     e.           Between         in      or     about         July    2020      and


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December 2020 , SHRIKI and BARDAKOVA , working at the direction and

for    the          benefit         of    DERIPASKA          and     VORONINA ,    facilitated

arrangements for VORONINA to give birth to DERIPASKA ' s child in

the United States.             SHRIKI and BARDAKOVA coordinated with various

companies and individuals to provide ,                            among other arrangements ,

(1)   registration at the hospital where VORONINA gave birth ,                               (2)

obstetrical care while VORONINA was in Los Angeles ,                               California,

(3)   rental of a two - story penthouse apartment in Beverly Hills,

California ,         where VORONINA stayed for                     approximately six months

(the " Beverly Hills Penthouse " ) ,                   (4)   childcare in the form of at

least five nannies and a housekeeper ,                        (5) cord blood and placenta

preservation ,        and     (6)    VORONINA ' s arrival and departure from the

United States on a private jet .

                       f .                DERIPASKA approved and provided funding

for these arrangements related to the birth in 2020 of his child

in the United St ates .                  As coordinated by BARDAKOVA on behalf of

DERIPASKA , SHR I KI received over $170 , 000 in payments to her Global

Cons u l t i n g bank account at a U. S . financial institution.                          SHRIKI

used some of these funds to pay for , or reimburse herself for the

payment      of ,     r ent    for        the    Beverly      Hills      Penthouse ,    medical

providers , nannies , transportation , and other expenses related to

DERIPASKA ' s       child ,    for       the    benefit      of    DERIPASKA and VORONINA .

Using funds from her personal bank account in Russia ,                                 BARDAKOVA

separately caused thousands                     of dollars         of   payments   to   various


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service providers for the benefit of DERIPASKA and VORONINA in the

United States.

                      g.                 DERIPASKA      obtained           reports       from

BARDAKOVA and VORONINA about SHRIKI's services to facilitate the

birth of his child.           For example, on or about July 2 , 2020 , VORONINA

arrived in Los Angeles on a private jet approved by DERIPASKA and

sent DERIPASKA photos of the Beverly Hills Penthouse SHRIKI and

BARDAKOVA had rented for her to stay while in the United States.

The next day, on or about July 3 , 2020, VORONINA sent DERIPASKA a

message ,    stating ,      in part ,      "Now Olga and I are going to drive to

see where the clinic is and get a local telephone ."                             DERIPASKA

acknowledged the message.                 Later , on or about the same day, SHRIKI

sent an audio message to BARDAKOVA reporting on her assistance to

VORONINA ,     including           the     errands     VORONINA    had      described      to

DERIPASKA .     On or about July 4 , 2020 , BARDAKOVA replied to SHRIKI

with an audio message stating, in part , "Listen, it ' s so cool that

you   sorted    out        just    about    everything      with   her .      That ' s   just

excellent ,    really wonderful ,            really good.       The dad is happy .          I

told him that         you    are    with her ,       that   everything _is      wonderful,

great , that you guys will have an appointment with a doctor there,

and he goes ,    ' Well , good , good .         Yes.    Keep me informed.'"          SHRIKI

replied to BARDAKOVA's message , in part,                    "Go ahead and praise me

there ."

                   h.                DERIPASKA ' s      child   was    born     in   August


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2020 ,   in Los Angeles,     California,   obtaining U.S.        citizenship by

birth.     DERIPASKA arranged for SHRIKI , BARDAKOVA , and VORONINA to

obtain a U.S . passport and U.S . birth certificate for DERIPASKA's

child.     On or about the date of the child 's birth, SHRIKI left an

audio message for BARDAKOVA, discussing that the child 's last name

on the birth certificate would be differentiated from the father's

last name by asking whether VORONINA had been "prepared" that "the

last name will be different?"          SHRIKI also stated that VORONINA

had   already    ordered   some   custom-made   i terns    for   the   baby   with

initials embroidered .      As evidenced in SHRIKI's emails , SHRIKI had

in fact purchased personalized baby clothes and a picture frame to

be sent to the Beverly Hills Penthouse with inscriptions including

variations of the child ' s initials and name.              Ultimately,   on the

child ' s birth certificate , VORONINA omitted the name of the father ,

DERIPASKA , but spelled the child's last name using a variation of

DERIPASKA ' s surname with a couple of the letters changed and gave

the child a middle name that makes clear the father is DERIPASKA.

                   i.          In or about 2022, DERIPASKA and VORONINA

decided to have VORONINA give birth to their second child in the

United States , the result of which would be that the second child

also would have United States citizenship .               DERIPASKA once again

and in violation of U. S. sanctions authorized transactions related

to this endeavor , which included over $400,000 in expenses related

to a private charter flight        for VORONINA and those accompanying


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her from Russia to the United States , a six- month pre - paid house

rental in Beverly Hills , and additional pre-paid medical and other

expenses .

                    j .         On   or    about    April     12 ,     2022 ,    VORONINA

wrote    to   DERIPASKA     inquiring     whether     she     could      tell     another

DERIPASKA employee "to connect with Olga Shriki in connection with

our trip? "    DERIPASKA replied to VORONINA , "Of course ."                     However ,

when VORONINA asked SHRIKI to organize everything as was done in

connection with the birth of DERIPASKA ' s first child,                         including

" doctor , clinic , apartment , everything maximally the same , " SHRIKI

expressed that she was busy with other ful l time work .                         Instead ,

SHRIKI advised BARDAKOVA on these tasks ,                 sending BARDAKOVA the

addresses of the hospital used for VORONINA ' s                    first birth ,      the

apartment address , the name of the doctor , and advice on how to

use a rea l tor .    BARDAKOVA then travelled to the United States and

coordinated     the       arrangements     for     VORONINA ' s        planned      stay ,

includ i ng a charter f li ght for VORONINA to fly into the United

States , a rented house in Beverly Hills , and potential appointments

with the same obstetrician , all for the benefit of DERIPASKA and

VORONINA .

                    k.          On   or    about    May     13 ,     2022 ,     BARDAKOVA

t raveled to Los Ange l es t o tour houses potentially to rent for

VORONINA and for the benefit of DERIPASKA .                  On or about May 18 ,

2022 , VORONINA forwarded DERIPASKA a message from BARDAKOVA with


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a video of a potential rental.                           BARDAKOVA ' s message stated ,             in

part, "if OV agrees , then I would vote for this house as it meets

most of the requirements" .                  VORONINA noted to DERIPASKA , "Natali ya

found it,     but very expensive,                  we will keep looking" .                 DERIPASKA

responded ,    "now will try to negotiate" ,                          prompting a "thank you "

from VORONINA.

                     l.               On      or        about     May     20,     BARDAKOVA       sent

VORONINA a      link      for   a     house        rental       listing     in        Beverly Hills.

VORONINA sent the link to DERIPASKA, stating it was a better option

"but they are not moving on price and have two other families ready

to rent .     How does it look to you?"                          DERIPASKA responded,          "Will

inquire ."     BARDAKOVA then finalized the agreement for the house

rental .     On or about May 21, 2022 , VORONINA forwarded DERIPASKA a

message     advising ,     in       part ,     "Our       application           was    selected   and

confirmed .         Now    deciding          questions           of     payment ".         DERIPASKA

responded ,    "Hooray".            BARDAKOVA then               coordinated approximately

$229 , 000 in payments to intermediaries in Russia in order to have

a   U.S . - based   entity      fund     the       cost     of    the     Beverly Hills        house

rental .

                     m.               That same month,                 in or about May 2020 ,

DERIPASKA and BARDAKOVA arranged for VORONINA 's travel on a private

jet from Russia to Los Angeles so that she could arrive in the

United States in time to give birth to DERIPASKA ' s and VORONINA's

second child and for their benefit.                             On or about May 25 ,           2022 ,


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BARDAKOVA sent a message to VORONINA, stating, in part , "The Chief

confirmed boarding for June 1.               Let's decide on the outgoing flight

from Moscow .          From Sheremetyevo (so as not to go far)                at 10, 11,

12?"      VORONINA selected the noon flight time and then asked, "Is

the 1st necessary?           And what's the plan for the flight times and

connections" .          BARDAKOVA replied , in part, "Oleg Vladimirovich so

instructed.           Insisting on flight out .          Planes very hard to confirm

now ."     VORONINA forwarded BARDAKOVA' s message to                      DERIPASKA and

added,     " We will      fly when you tell us to".                DERIPASKA replied,

"Looks like flight on the 1st will happen."                       On June 1,       2022,   a

Cyprus     aviation       charter    service      paid    a   Swiss    charter     company

approximately 160 , 000 Euros for a private jet to ferry VORONINA ,

DERIPASKA ' s and VORONINA ' s first child , and a nanny from Istanbul

to Los Angeles .         On or about June 1, 2022, VORONINA in fact traveled

to Los Angeles on the private jet .

         SHRIKI's Deletion of Records and Obstruction of Justice

                20.     On or about    September 23,          2020 ,   a   federal    grand

jury sitting in the Southern District of New York issued a subpoena

to OLGA SHRIKI , the defendant , seeking records pertaining to the

grand     jury ' s     investigation    into      OLEG    VLADIMIROVICH       DERIPASKA,

a/k/a     "Oleg Mukhamedshin ,"        the     defendant,       and his     real     estate

holdings in the United States (the "Grand Jury Subpoena " ) .                        SHRIKI

failed     to    produce     and    deleted       several     categories     of    records

responsive to the Grand Jury Subpoena.                   For example, SHRIKI failed


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to produce certain communications regarding facilitating the sale

of the Music Studio and making purchases for DERIPASKA .                              SHRIKI

also      deleted      records     responsive       to    the      Grand   Jury    Subpoena ,

including text messages between SHRIKI                      and NATALIA MIKHAYLOVNA

BARDAKOVA , a/k/a "Natalya Mikhaylovna Bardakova ," the defendant ,

coordinating the delivery of the Easter flowers and gifts to the

U.S . te l evision host , voice messages between SHRIKI and BARDAKOVA

discussing SHRIKI ' s            assistance    to    EKATERINA OLEGOVNA VORONINA ,

a/k/a " Ekaterina Lobanova ," the defendant , and screenshots of bank

tra n sfers      shared     between       SHRIKI    and    BARDAKOVA       pertaining     to

funding for Global Consulting to pay for VORONINA ' s expenses while

in the United States .           On or about June 15 , 2021 , after an Assistant

United States Attorney notified SHRIKI ' s attorney that SHRIKI had

not produced all            records   required by the              Grand J u ry Subpoena ,

SHRI KI    conducted web searches on her phone                       for   "if the client

withholds information about sanctions list ."

                 VORONINA's and BARDAKOVA's False Statements

                21 .   On   or    about    June     2,    2022 ,     EKATERINA      OLEGOVNA

VORONINA ,      a/k/a " Ekater i na Lobanova ," the defendant ,                   arrived in

Los Angeles on a private jet with the first child she had with

OLEG   VLADIMIROVICH          DERIPASKA ,      a/k/a      "Oleg      Mukhamedshin , "    the

defe n da nt.      Upon arr i val ,    off ice rs from the U. S .           Department of

Homeland Security i nterviewed VORONINA .                   During those interviews ,

VORONINA falsely stated that the name of the father of her child


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and her then-unborn child was "Alec Deribasko."                When subsequentl y

asked whether she knew "Oleg Deripaska," VORONINA stated that she

did know him and that he was a friend.               Later , when shown a photo

of DERIPASKA, VORONINA stated that the individual depicted in the

photo looked like the father of her child.                VORONINA also Btated,

in substance and in part , that she did not know where her child's

father lived or his occupation.               In addition, VORONINA stated, in

substance and in part , that her parents had paid for her private

jet to arrive in the United States and that her parents had rented

her a house in Beverly Hills for her to stay while in the United

States.

             22.   On or about June 3,          2022 , Special Agents from the

Federal Bureau of Investigation met NATALIA MIKHAYLOVNA BARDAKOVA ,

a/k/a "Natalya Mikhaylovna Bardakova , " the defendant , at the Los

Angeles airport where she was waiting to pick up EKATERINA OLEGOVNA

VORONINA ,    a/k/a    " Ekaterina      Lobanova ,"     the   defendant ,     after

VORONINA ' s arrival on the private jet BARDAKOVA had helped arrange .

The agents     accompanied BARDAKOVA back to             her hotel   where     they

interviewed her in the        lobby .     During the interview ,       BARDAKOVA

acknowledged , in substance and in part , that she had traveled to

the United States to facilitate arrangements for VORONINA to give

birth   in the     United   States .     But     BARDAKOVA also made        several

materially    false    statements .       For     example ,   BARDAKOVA     falsely

stated , in substance and in part, that she had never communicated


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with    DERIPASKA        directly .            BARDAKOVA       also     falsely       stated ,      in

substance      and      in    part ,    that    she     did    not    assist       VO RON INA     with

VORONINA' s     trip      in 2020          to give birth to her first                    child with

DERIPASKA       and ,        specifically ,       did     not        send    any     money        from

BARDAKOVA ' s        accounts        for     expenses    associated          with     that      trip.

BARDAKOVA also falsely stated , , in substance and in part , that she

had never visited DERIPASKA ' s property located at 12 Gay Street ,

New York , New York.

                             COUNT ONE
    (Conspiracy to Violate the International Emergency Economic
                            Powers Act)

              The Grand Jury further charges:

              23 .      The    allegations       set     forth       above    in    Paragraphs       1

through 22 are realleged and incorporated by reference as if set

fully forth herein.

              24 .      From at least in or about April 2018 through in or

about   the     present ,       in     the    Southern        District       of    New     York   and

elsewhere ,          OLEG        VLADIMIROVICH            DERIPASKA ,              a/k/a        "Oleg

Mukhamedshin ,"         OLGA    SHRIKI ,       and NATALIA MIKHAYLOVNA BARDAKOVA ,

a/k/a "Natalya Mikhaylovna Bardakova," the defendants, and others

known and unknown , did combine ,                 conspire ,         confederate, and agree

together and with each other to violate the IEEPA , in violation of

50 U.S . C . § 1705 , Executive Orders 13660 , 13661 , and 13662, and 31

C.F . R. § 589.201.

              25 .      It was a part and an object of the conspiracy that


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OLEG     VLADIMIROVICH           DERIPASKA ,       a/k/a     "Oleg     Mukhamedshin , "        OLGA

SHRIKI ,        and     NATALIA      MIKHAYLOVNA            BARDAKOVA ,        a/k/a      "Natalya

Mikhaylovna           Bardakova ,"        the   defendants ,         and     others    known   and

unknown ,       would and did violate ,                attempt to violate ,           and cause a

violation of a license , order , regulation, and prohibition issued

under the IEEPA .

   (Title 50 , United States Code , Section 1705 ; Executive Orders
  13660 , 13661 , arid 13662 ; Title 31 , Code of Federal Regulations
                               § 589 . 201.)


                                        COUNT TWO
                                 (Destruction of Records)

                The Grand Jury further charges:

                26.     Th e    allegations       set     forth      above    in   Paragraphs    1

through 22 are real l eged and incorporated by reference as if set

fully forth herein.

                27.     From at least in or about 2020 through at least in

or about the present ,              i n the Southern District of New York and

elsewhere ,       OLGA         SHRIKI ,     the        defendant ,      knowingly        altered ,

destroyed , mutilated ,            concealed ,         covered up ,     falsified , and made

a false entry in a record , document, and tangible object with the

intent     to    impede ,      obstruct ,       and     influence     a matter within          the

juri sdiction of a department and agency of t he United States , and

in relation to and contemplat i on of s u ch matter ,                          to wit ,    SHRIKI

de l eted portions of conversations and images related to her work

for OLEG VLADIMIROVICH DERIPASKA , a/k/a " Oleg Mukhamedshin ," after




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being served with a Grand Jury Subpoena requiring the production

of such records .

         (Title 18 , United States Code, Sections 1519 and 2.)

                                    COUNT THREE
                                 (False Statements}

            The Grand Jury further charges:

            28 .    The allegations       set   forth    above    in     Paragraphs    1

through 22 are realleged and incorporated by reference as if set

fully forth herein .

            29.     On or about June 2 , 2022 , in the Southern District

of New York and elsewhere ,          NATALIA MIKHAYLOVNA BARDAKOVA ,              a/k/a

" Natalya Mikhaylovna Bardakova ," the defendant , in a matter within

the jurisdiction of the executive branch of the Government of the

United   States ,    knowingly     and    willfully made        materially       false ,

fictitious , and fraudulent statements and representations, to wit,

when   interviewed by Special Agents             from    the    Federal    Bureau of

Investigation ,      BARDAKOVA      falsely     stated    that     (1)     she    never

communicated       with   OLEG    VLADIMIROVICH       DERIPASKA,         a/k/a    "Oleg

Mukhamedshin ,"     directly ,      (2)   she   had     not    assisted     EKATERINA

OLEGOVNA VORONINA ,       a/k/a "Ekaterina Lobanova ,"            with VORONINA' s

trip in 2020 to give birth to her first child with DERIPASKA and,

specifically, did not send any money from BARDAKOVA's accounts for

expenses associated with that trip , and (3) she had never visited

any of DERIPASKA ' s properties in the United States , when in truth



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and   in    fact,       and    as   BARDAKOVA           knew        (1)       BARDAKOVA    regularly

communicated          directly      with        DERIPASKA ,          (2)      BARDAKOVA     assisted

VORONINA with arrangements for VORONINA ' s 2020 trip to the United

States to give birth to DERIPASKA's child and paid for some of

VORONINA ' s     expenses       related to that            trip from BARDAKOVA' s                bank

account ,      and     (3)     BARDAKOVA        had     visited            DERIPASKA ' s    property

located at 12 Gay Street , New York , New York.

               (Title 18 , United States Code , Section 1001 . )

                                        COUNT FOUR
                                    (False Statements)

               The Grand Jury further charges:

               30 .    The    allegations         set    forth        above      in    Paragraphs   1

through 22 are realleged and incorporated by reference as if set

fully forth herein .

               31 .    On or about June 2 , 2022 , in the Southern District

of New      York      and    elsewhere ,    EKATERINA OLEGOVNA VORONINA ,                     a/k/a

" Ekaterina      Lobanova ,n        the    defendant ,         in         a   matter    within   the

jurisdiction of the             executive branch               of     the      Government    of the

United     States ,     knowingly         and    willfully          made       materially    false,

fictitious , and fraudulent statements and representations , to wit ,

when interviewed by officers from the U.S . Department of Homeland

Security , VORONINA falsely stated that her parents had rented her

housing accommodations during her intended stay in Los Angeles ,

California , when in truth and in fact , and as VORONINA knew , OLEG




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VLADIMIROVICH DERIPASKA ,                  a/k/a " Oleg Mukhamedshin,         11
                                                                                   and NATALIA

MIKHAYLOVNA BARDAKOVA,                a/k/a "Natalya Mikhaylovna Bardakova ,                   the

defendants , had rented , approved , and funded her housing.

              (Title 18 , United States Code , Section 1001.)

                                     FORFEITURE ALLEGATION

             32 . As      a   result        of    committing the      offense      alleged in

Count One of this Indictment , OLEG VLADIMIROVICH DERIPASKA , a/k/a

" Oleg    Mukhamedshin ,        11
                                       OLGA      SHRIKI ,    and    NATALIA        MIKHAYLOVNA

BARDAKOVA , a/k/a " Natalya Mikhaylovna Bardakova , 11 the defendants ,

shall forfeit to the United States, pursuant to Title 18 ,                               United

States Code ,       Sect i on        981 (a) (1) (C) ,    and Title 28 ,    United States

Code ,    Section      2461 ,        all    property ,      real    and   personal ,         which

constitutes or is derived from proceeds traceable to the commission

of the offense alleged in Count One , including but not limited to

a sum of money in United States currency representing the amount

of proceeds traceable to the commission of said offense and the

following specific property :

                     a.                 Any and all monies and funds previously

on deposit at Wells Fargo Bank in account no. 2502560838, held in

the name of Ocean Studios LLC ,                     and any and all funds           traceable

thereto , including accrued interest ;

                     b.                 Th e     real property located at 2501               30th

Street NW , Washington , D. C.;

                     c.                 The      real    property    located       at   12    Gay


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Street , New York , New York ; and

                     d.           The real property located at 11 East 64th

Street , New York , New York .

                          Substitute Asset Provision

              33.    If any of the property described above as being

subject to forfeiture , as a result of any act or omission of OLEG

VLADIMIROVICH DERIPASKA ,         a/k/a " Oleg Mukhamedshin , " OLGA SHRIKI ,

and   NATALIA       MIKHAYLOVNA   BARDAKOVA ,   a/k/a   " Natalya   Mikhaylovna

Bardakova ," the defendants ,

                     a.   cannot be located upon the exercise of due

diligence ;

                     b.   has been transferred or sold to , or

deposited with , a third party ;

                     c.   has been placed beyond the jurisdiction of

the cour t;

                     d.   has been substantially diminished in value ;

or

                     e.   has been commingled with other property

which cannot be divided without difficulty ;




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it is the intent of the United States, pursuant to Title 21, United

States Code,      Section 853(p);    and Title 28,    United States Code,

Section 2461      to   seek   forfeiture   of   any other property of     the

defendants up to the value of the forfeitable property described

above.

              (Title 18, United States Code, Sections 981;
               Title 21, United States Code, Section 853;
              Title 28, United States Code, Section 2461.)




                                       k~i,DAMIAN WILLIAMS
                                           United States Attorney
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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK



                     UNITED STATES OF AMERICA

                                -v. -

OLEG VLADIMIROVICH DERIPASKA, a/k/a "Oleg Mukhamedshin," OLGA
    SHRIKI, NATALIA MIKHAYLOVNA BARDAKOVA, a/k/a "Natalya
Mikhaylovna Bardakova," and EKATERINA OLEGOVNA VORONINA, a/k/a
                    "Ekaterina Lobanova,"

                            Defendants .



                         SEALED INDICTMENT

                           Sl 22 Cr.

(50 U. S . C . § 1705; Executive Orders 13660 , 13661, and 13662; 31
          C . F.R . § 589.201; 18 U. S.C . §§ 1001 , 1519, & 2.)


                        DAMIAN WILLIAMS
                     United States Attorney.
